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                                       Judge Wilson's 2022–24 Case Management Calendar
Trial list: Status        Fact         Dispositive motions     Affirmative     Responsive   Supplemental      Expert discovery Motions in limine   Pretrial Memoranda,       Pre-trial     Jury
            conference:   discovery    and suporting briefs:   expert reports: expert       expert reports:   deadline:        and supporting      proposed voir dire, and   conference:   selection
                          deadline:                                            reports:                                        briefs:             jury instructions:                      and trial:
Jan-22    5/26/2021       6/30/2021    7/30/2021               7/30/2021       9/3/2021     9/17/2021         10/15/2021       11/3/2021           12/1/2021                 12/15/2021    1/3/2022
Feb-22    6/23/2021       7/30/2021    8/31/2021               8/31/2021       10/1/2021    10/15/2021        11/12/2021       12/8/2021           1/5/2022                  1/19/2022     2/7/2022
Mar-22    7/28/2021       8/31/2021    9/30/2021               9/30/2021       11/5/2021    11/19/2021        12/17/2021       1/5/2022            2/2/2022                  2/16/2022     3/7/2022
Apr-22    8/25/2021       9/30/2021    10/29/2021              10/29/2021      12/3/2021    12/17/2021        1/14/2022        2/2/2022            3/2/2022                  3/16/2022     4/4/2022
May-22    9/22/2021       10/29/2021   11/30/2021              11/30/2021      1/7/2022     1/21/2022         2/18/2022        3/9/2022            4/6/2022                  4/20/2022     5/2/2022
Jun-22    10/27/2021      11/30/2021   12/30/2021              12/30/2021      2/4/2022     2/18/2022         3/18/2022        4/6/2022            5/4/2022                  5/18/2022     6/6/2022
Jul-22    11/24/2021      12/30/2021   1/31/2022               1/31/2022       3/4/2022     3/18/2022         4/15/2022        5/4/2022            6/1/2022                  6/15/2022     7/5/2022
Aug-22    12/22/2021      1/31/2022    2/28/2022               2/28/2022       4/1/2022     4/15/2022         5/13/2022        6/8/2022            7/6/2022                  7/20/2022     8/1/2022
Sep-22    1/26/2022       2/28/2022    3/31/2022               3/31/2022       5/6/2022     5/20/2022         6/17/2022        7/6/2022            8/3/2022                  8/17/2022     9/6/2022
Oct-22    2/23/2022       3/31/2022    4/29/2022               4/29/2022       6/3/2022     6/17/2022         7/15/2022        8/10/2022           9/7/2022                  9/21/2022     10/3/2022
Nov-22    3/23/2022       4/29/2022    5/31/2022               5/31/2022       7/1/2022     7/15/2022         8/12/2022        9/7/2022            10/5/2022                 10/19/2022    11/7/2022
Dec-22    4/27/2022       5/31/2022    6/30/2022               6/30/2022       8/5/2022     8/19/2022         9/16/2022        10/5/2022           11/2/2022                 11/16/2022    12/5/2022
23-Jan    5/25/2022       6/30/2022    7/29/2022               7/29/2022       9/2/2022     9/16/2022         10/14/2022       11/9/2022           12/7/2022                 12/21/2022    1/2/2023
23-Feb    6/22/2022       7/29/2022    8/31/2022               8/31/2022       10/7/2022    10/21/2022        11/18/2022       12/7/2022           1/4/2023                  1/18/2023     2/6/2023
23-Mar    7/27/2022       8/31/2022    9/30/2022               9/30/2022       11/4/2022    11/18/2022        12/16/2022       1/4/2023            2/1/2023                  2/15/2023     3/6/2023
23-Apr    8/24/2022       9/30/2022    10/31/2022              10/31/2022      12/2/2022    12/16/2022        1/13/2023        2/1/2023            3/1/2023                  3/15/2023     4/3/2023
23-May    9/28/2022       10/31/2022   11/30/2022              11/30/2022      1/6/2023     1/20/2023         2/17/2023        3/8/2023            4/5/2023                  4/19/2023     5/1/2023
23-Jun    10/26/2022      11/30/2022   12/30/2022              12/30/2022      2/3/2023     2/17/2023         3/17/2023        4/5/2023            5/3/2023                  5/17/2023     6/5/2023
23-Jul    11/23/2022      12/30/2022   1/31/2023               1/31/2023       3/3/2023     3/17/2023         4/14/2023        5/10/2023           6/7/2023                  6/21/2023     7/3/2023
23-Aug    12/28/2022      1/31/2023    2/28/2023               2/28/2023       4/7/2023     4/21/2023         5/19/2023        6/7/2023            7/5/2023                  7/19/2023     8/7/2023
23-Sep    1/25/2023       2/28/2023    3/31/2023               3/31/2023       5/5/2023     5/19/2023         6/16/2023        7/5/2023            8/2/2023                  8/16/2023     9/5/2023
23-Oct    2/22/2023       3/31/2023    4/28/2023               4/28/2023       6/2/2023     6/16/2023         7/14/2023        8/9/2023            9/6/2023                  9/20/2023     10/2/2023
23-Nov    3/22/2023       4/28/2023    5/31/2023               5/31/2023       7/7/2023     7/21/2023         8/18/2023        9/6/2023            10/4/2023                 10/18/2023    11/6/2023
23-Dec    4/26/2023       5/31/2023    6/30/2023               6/30/2023       8/4/2023     8/18/2023         9/15/2023        10/4/2023           11/1/2023                 11/15/2023    12/4/2023
24-Jan    5/24/2023       6/30/2023    7/31/2023               7/31/2023       9/1/2023     9/15/2023         10/13/2023       11/8/2023           12/6/2023                 12/20/2023    1/2/2024
24-Feb    6/28/2023       7/31/2023    8/31/2023               8/31/2023       10/6/2023    10/20/2023        11/17/2023       12/6/2023           1/3/2024                  1/17/2024     2/5/2024
24-Mar    7/26/2023       8/31/2023    9/29/2023               9/29/2023       11/3/2023    11/17/2023        12/15/2023       1/10/2024           2/7/2024                  2/21/2024     3/4/2024
24-Apr    8/23/2023       9/29/2023    10/31/2023              10/31/2023      12/1/2023    12/15/2023        1/12/2024        2/7/2024            3/6/2024                  3/20/2024     4/1/2024
24-May    9/27/2023       10/31/2023   11/30/2023              11/30/2023      1/5/2024     1/19/2024         2/16/2024        3/6/2024            4/3/2024                  4/17/2024     5/6/2024
24-Jun    10/25/2023      11/30/2023   12/29/2023              12/29/2023      2/2/2024     2/16/2024         3/15/2024        4/3/2024            5/1/2024                  5/15/2024     6/3/2024
24-Jul    11/22/2023      12/29/2023   1/31/2024               1/31/2024       3/1/2024     3/15/2024         4/12/2024        5/8/2024            6/5/2024                  6/19/2024     7/1/2024
24-Aug    12/27/2023      1/31/2024    2/29/2024               2/29/2024       4/5/2024     4/19/2024         5/17/2024        6/5/2024            7/3/2024                  7/17/2024     8/5/2024
24-Sep    1/24/2024       2/29/2024    3/29/2024               3/29/2024       5/3/2024     5/17/2024         6/14/2024        7/10/2024           8/7/2024                  8/21/2024     9/3/2024
24-Oct    2/28/2024       3/29/2024    4/30/2024               4/30/2024       6/7/2024     6/21/2024         7/19/2024        8/7/2024            9/4/2024                  9/18/2024     10/7/2024
24-Nov    3/27/2024       4/30/2024    5/31/2024               5/31/2024       7/5/2024     7/19/2024         8/16/2024        9/4/2024            10/2/2024                 10/16/2024    11/4/2024
24-Dec    4/24/2024       5/31/2024    6/28/2024               6/28/2024       8/2/2024     8/16/2024         9/13/2024        10/9/2024           11/6/2024                 11/20/2024    12/2/2024
